                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                   CIVIL ACTION NO.: ______________________


THE COLONY CLUB AT LANDFALL
HOMEOWNERS’ ASSOCIATION, INC.,

                     Plaintiff,
                                                  NOTICE OF REMOVAL OF ACTION
v.
                                                  PURSUANT TO 28 U.S.C. § 1441(b)
                                                           (DIVERSITY)
PALOMAR SPECIALTY INSURANCE
COMPANY,

                     Defendant.


       Defendant, Palomar Specialty Insurance Company (“Defendant” or “Palomar”)

hereby gives notice, pursuant to 28 U.S.C. §§ 1332, 1441(b), and 1446, that it has

removed the above-captioned matter to the United States District Court for the Eastern

District of North Carolina. A copy of this Notice is being filed with the Clerk of the

Superior Court of New Hanover County, North Carolina, pursuant to 28 U.S.C. §

1446(b). In support of this Notice, Palomar states the following:

                PROCEDURAL HISTORY AND CASE BACKGROUND

       1.     On or about June 21, 2021, Plaintiff, The Colony Club at Landfall

Homeowners’ Association, Inc. (“Colony Club” or “Plaintiff”) filed a complaint against the

Defendant in the Superior Court of New Hanover County, North Carolina (the

“Complaint” or “Plaintiff’s Complaint”). The Complaint was assigned case no. 21-CVS-

2374 (the “State Court Action”). On July 2, Plaintiff served the North Carolina

Department of Insurance with a copy of the Complaint. See Exhibit A, Plaintiff’s

Complaint and correspondence from C. Ethridge. The North Carolina Department of




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Insurance forwarded the Complaint to Palomar on July 9, 2021 and Palomar was

actually served with the Complaint on July 15, 2021. See, Exhibit A.

          2.       Plaintiff’s two-count Complaint alleges that Palomar issued an insurance

policy to Plaintiff, numbered CPARP-XX-XXXXXXX-00 (the “Policy”); such Policy provided

certain insurance coverage to Plaintiff’s property, a residential, multi-family complex

located at 1700-1753 Signature Place in Wilmington, North Carolina (the “Property”);

and that following a weather event on September 9, 2019, which Plaintiff alleged

caused damage to the Property, Plaintiff submitted an insurance claim to Palomar which

Palomar denied. See Complaint, ¶¶ 1, 8, and 13. See also Exhibit B, a copy of the

Policy.

          3.       Plaintiff’s Complaint alleges the following two Counts:

                  Count I is for Breach of Contract and seeks actual damages, as well as
                   consequential damages, due to Palomar’s Claim decision. Id., ¶¶ 32-43.

                  Count II is for Unfair and Deceptive Trade Practices and seeks actual and
                   consequential damages, plus treble damages and attorneys’ fees. Id., ¶¶
                   44-53.

          4.       In accordance with the foregoing, including 28 U.S.C. §§ 1332(a)(1), 1446

(b)(3), and 1446 (c)(1), Palomar now removes this matter to this Court based upon

diversity jurisdiction.

                       JURISDICTIONAL BASIS UNDER 28 U.S.C. § 1332

          5.       Under U.S.C. § 1332(a)(1), this Court has “original jurisdiction where the

matter in controversy exceeds the sum or value of $75,000, exclusive of interest and

costs, and is between ... citizens of different States ....” Id. Here, both criteria are met.




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I.     Complete Diversity of Citizenship Exists

       6.      According to the Complaint, Plaintiff is a North Carolina non-profit

corporation with property located in Wilmington, North Carolina. Id., ¶ 2; see also Exhibit

C, a copy of Plaintiff’s North Carolina Secretary of State company profile.

       7.      Palomar is a corporation organized and existing under the laws of the

State of Oregon, with its principal place of business in La Jolla, California. Id., ¶ 3; see

also Exhibit D, Palomar’s NAIC company profile.

       8.      Given that Plaintiff and Defendant are the only Parties to this Action and

are citizens of different States, complete diversity exists between the Parties.

II.    The Amount in Controversy Exceeds $75,000.00

       9.      As indicated above, the amount in controversy exceeds $75,000.00,

exclusive of interest and costs.

       10.     Plaintiff’s First Cause of Action seeks “the full amount of [Plaintiff’s] actual

damages . . .” See supra.

       11.     Plaintiff’s Second Cause of Action seeks actual and consequential

damages, as well as treble damages, and attorneys’ fees. Id., ¶¶ 51-53.

       12.     Prior to filing the instant Complaint, on June 17, 2020, Plaintiff presented a

Sworn Statement in Proof of Loss seeking $4,867,912.37 in insurance proceeds, after

reducing its damage by the Policy’s $147,113.39 deductible. See Sworn Statement in

Proof of Loss, attached hereto as Exhibit E.

       13.     Here, even without including treble damages or attorneys’ fees, Plaintiff’s

claimed damages total $4,867,912.37. Thus, the “amount in controversy” requirement,

like the “complete diversity” requirement, is clearly met.




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                                     LEGAL ARGUMENT

       14.     As stated above, the amount in controversy in this matter exceeds

$75,000.00, exclusive of interest and costs, and this matter is between citizens of

different states. Accordingly, this Honorable Court has jurisdiction pursuant to 28 U.S.C.

§§ 1332 and 1441.

       15.     Pursuant to 28 U.S.C. §1441(a), this Court is the proper venue for removal

because it is the district and division embracing the place where the originally filed State

Action is pending. Defendant, though, does not waive its right to contest venue,

including pursuant to 28 U.S.C. §1404.

       16.     Pursuant to 28 U.S.C. §1446(d), a copy of this Notice of Removal is being

served upon counsel for the Plaintiff and shall be contemporaneously filed with the

Clerk’s Office for the Superior Court of New Hanover County, North Carolina.

       17.     A copy of the Notice of Removal to Opposing Counsel and the Notice of

Filing the Notice of Removal, both of which shall be filed in the State Court action, are

attached hereto as Exhibits F and G, respectively.

       18.     This Notice of Removal is not a waiver of Palomar’s defenses, including

but not limited to its right to contest venue, nor should it be understood or construed as

a waiver of any defense Palomar may have against any of the allegations in the

Complaint, or as a general appearance or waiver of any defense based upon lack of

jurisdiction or for failure to state a claim.

       WHEREFORE, Defendant, Palomar Specialty Insurance Company, requests that

the above-captioned Action be removed from the Superior Court of New Hanover




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County, North Carolina, to the United States District Court for the Eastern District of

North Carolina.

                          BUTLER WEIHMULLER KATZ CRAIG LLP


                          _/s/ L. Andrew Watson__________________
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                          Attorneys for Defendant Palomar Specialty Insurance
                          Company



                             CERTIFICATE OF SERVICE

      I hereby certify that on the 13th day of August, 2021 the foregoing NOTICE OF

REMOVAL was duly served by placing the same, postage paid, in the United States

Mail addressed to the following persons, as well as filing the same with the above-

captioned Court via ECF Pacer.


H. Forest Horne                             Richard D. Daly
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                                 /s/ L. Andrew Watson__
                                     L. Andrew Watson




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